                            Case 23-01031-PDR            Doc 48       Filed 03/27/23        Page 1 of 3




         ORDERED in the Southern District of Florida on March 27, 2023.



                                                                       Peter D. Russin, Judge
                                                                       United States Bankruptcy Court
_____________________________________________________________________________


                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                           FORT LAUDERDALE DIVISION
                                                www.flsb.uscourts.gov

          In re:                                                            Chapter 11 Cases

          VITAL PHARMACEUTICALS, INC., et al.,                              Case No.: 22-17842-PDR

                      Debtors.1                                             (Jointly Administered)
                                                                 /

          VITAL PHARMACEUTICALS, INC. and
          JHO   INTELLECTUAL   PROPERTY
          HOLDINGS, LLC,

                             Plaintiffs,                                    Adv. Pro. No. 23-01031-PDR

          v.

          ORANGE     BANG,   INC.,                           and
          MONSTER ENERGY COMPANY,

                             Defendants.

                                                                 /


         1         The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’
         federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454);
         (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash
         Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc.
         (8019) (collectively, the “Debtors”).


         12026192-1
               Case 23-01031-PDR         Doc 48       Filed 03/27/23   Page 2 of 3




   ORDER DENYING EMERGENCY JOINT MOTION OF MONSTER ENERGY
COMPANY AND ORANGE BANK, INC. FOR STAY OF ADVERSARY PROCEEDING
  OR CONTINUANCE OF HEARING ON MOTION FOR SUMMARY JUDGMENT
PENDING DECISION OF MOTION TO WITHDRAW REFERENCE AND TRANSFER
                           [ECF No. 18]

         THIS MATTER came before the Court on March 22, 2023, at 2:30 p.m. and on March

23, 2023, at 2:30 p.m. in Fort Lauderdale, Florida, (the “Hearing”) upon the Emergency Joint

Motion of Monster Energy Company and Orange Bank, Inc. For stay of Adversary Proceeding or

Continuance of Hearing on Motion for Summary Judgment Pending Decision of Motion to

Withdraw Reference and Transfer [ECF. No. 18] filed by Monster Energy Company (“Monster”)

and Orange Bang, Inc. (“Orange Bang”) (the “Motion”). The Court, having considered, Plaintiffs’

Opposition to Emergency Joint Motion of Monster Energy Company and Orange Bang, Inc., For

Stay of Adversary Proceeding or Continuance of Hearing on Motion for Summary Judgment

Pending Decision on Motion to Withdraw Reference and Transfer [ECF No. 29]; and the Reply to

Plaintiffs’ Opposition to Emergency Joint Motion Of Monster Energy Company and Orange

Bang, Inc., For Stay of Adversary Proceeding or Continuance of Hearing on Motion for Summary

Judgment Pending Decision on Motion to Withdraw Reference and Transfer [ECF No. 33] filed

by Monster and Orange Bang, the argument of counsel for the Plaintiffs, counsel for Monster and

Orange Bang, and for the reasons stated on the record at the Hearing, it is

         ORDERED that:

         1.    The Motion is DENIED.

         2.    This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

                                              # # #




                                                  2
12026192-1
              Case 23-01031-PDR          Doc 48     Filed 03/27/23     Page 3 of 3




Submitted by:
Jordi Guso, Esq.
Michael J. Niles, Esq.
BERGER SINGERMAN LLP
1450 Brickell Avenue, Ste. 1900
Miami, FL 33131
Telephone: (305) 755-9500
Facsimile: (305) 714-4340
Email: jguso@bergersingerman.com
Email: mniles@bergersingerman.com

(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case and file a conforming certificate of service.)




                                                3
12026192-1
